              Case 1:05-cr-00510-OWW Document 32 Filed 06/12/06 Page 1 of 2


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5
     Attorney for Defendant
6    ELISEO PEREZ-GARCIA
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,             )               Case No. 1:05-cr-0510 OWW
                                           )
11                     Plaintiff,          )               STIPULATION TO CONTINUE STATUS
                                           )               CONFERENCE HEARING; AND ORDER
12         v.                              )               THEREON
                                           )
13   ELISEO PEREZ-GARCIA, et al.,          )               Date : July 17, 2006
                                           )               Time: 9:00 a.m.
14                     Defendants.         )               Dept : Hon. Oliver W. Wanger
     _____________________________________ )
15
16          IT IS HEREBY STIPULATED by and between the parties hereto, and through their respective
17   attorneys of record, that the Status Conference Hearing in the above captioned matter, set for June 12,
18   2006 at 1:30 p.m. is hereby continued to July 17, 2006 at 9:00 a.m.
19          The parties agree that the delay resulting from the continuance shall be excluded in the interests of
20   justice, including but not limited to, the need for the period of time set forth herein for effective defense
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
               Case 1:05-cr-00510-OWW Document 32 Filed 06/12/06 Page 2 of 2


1    preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and 3161(h)(B)(iv).
2            DATED: June 8, 2006                                    McGREGOR W. SCOTT
                                                                    United States Attorney
3
4                                                                   /s/ Kevin P. Rooney
                                                                    KEVIN P. ROONEY
5                                                                   Assistant U.S. Attorney
                                                                    Attorneys for Plaintiff
6
             DATED: June 8, 2006                                    LAW OFFICES OF GERSON S. HORN
7
8
                                                                    /s/ Gerson S. Horn
9                                                                   GERSON S. HORN
                                                                    Attorney for Defendant
10                                                                  HERIBERTTO OLGUIN
11           DATED: June 8, 2006                                    LAW OFFICES OF KATHERINE HART
12
13                                                                  /s/ Katherine Hart
                                                                    KATHERINE HART
14                                                                  Attorney for Defendant
                                                                    CLAUDIA C. AVENDANO
15
             DATED: June 8, 2006                                    DANIEL J. BRODERICK
16                                                                  Federal Defender
17
18                                                                  /s/ Mark A. Lizárraga
                                                                    MARK A. LIZÁRRAGA
19                                                                  Assistant Federal Defender
                                                                    Attorney for Defendant
20                                                                  ELISEO PEREZ-GARCIA
21                                                         ORDER
22           IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C. §§
23   3161(h)(8)(A) and 3161(h)(B)(iv).
24   IT IS SO ORDERED.
25   Dated: June 8, 2006                                      /s/ Oliver W. Wanger
     emm0d6                                              UNITED STATES DISTRICT JUDGE
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27
28


     Stipulation to Continue Status Conference Hearing         2
